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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH DAKOTA
                                   SOUTHERN DIVISION

SUSAN J. O’MEARA HERNES,

               Plaintiff,

v.                                                   CASE NO. 19-4122

INTEX RECREATION CORP.

               Defendant.
                                                 /

                            DEFENDANT’S NOTICE OF REMOVAL

        The Defendant, Intex Recreation Corp. (“Defendant”), by and through its undersigned

counsel and pursuant to 28 U.S.C. §§ 1441 and 1446, hereby files its Notice of Removal from

the Circuit Court of the Second Judicial Circuit, State of South Dakota, to the United States

District Court for the District of South Dakota, Southern Division. The grounds for removal are

as follows:

I.      THE REMOVED CASE

        1.     The removed case is a civil action filed on or about June 10, 2019 in the Circuit

Court of the Second Judicial Circuit, State of South Dakota, captioned as Susan J. O’Meara

Hernes v. Intex Recreation Corp, Case No. 41CIV19-318. Copies of all process, pleadings,

orders, and other papers or exhibits of every kind on file in the state court action are attached

hereto as Exhibit A.

        2.     The plaintiff, Susan J. O’Meara Hernes (“Plaintiff”), filed this product liability

lawsuit against Defendant arising out of an alleged explosion of an Intex-brand Fast-Fill Electric

Airbed Pump (“Pump”) on June 18, 2018. Plaintiff generally contends that the Pump was

unreasonably dangerous. See generally Exhibit A, Complaint, ¶¶ 35-43.
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          3.     Plaintiff seeks compensatory, general, and special damages against Defendant for

injuries she allegedly sustained to her eye due to the alleged explosion. Exhibit A, Compl. ¶¶ 9-

34, 44.

          4.     Defendant timely filed this Notice of Removal within thirty (30) days of service

of the initial pleading as required by 28 U.S.C. §1446(b). Plaintiff commenced this action in

state court on or about June 10, 2019. Intex Recreation Corp. was served with the Complaint on

June 13, 2019.

          5.     Venue for this removal is proper under 28 U.S.C. § 1441(a) to the District of

South Dakota, Southern Division, because the Circuit Court of the Second Judicial Circuit, State

of South Dakota, County of Lincoln, is within the District of South Dakota, Southern Division.

See D.S.D. Local Rules, Divisions of District of South Dakota.

II.       COMPLETE DIVERSITY OF CITIZENSHIP EXISTS BETWEEN THE
          PROPERLY JOINED PARTIES

          6.     This is a civil action that falls under the Court’s original jurisdiction under 28

U.S.C. § 1332 (diversity of citizenship) and may be removed to this Court by Defendant based

on diversity of citizenship under 28 U.S.C. §§ 1441 and 1446.

          7.     Plaintiff, Susan J. O’Meara Hernes, is and was at the time of filing this action, a

citizen of Sioux Falls, Lincoln County, South Dakota. See Exhibit A, Compl. ¶ 1.

          8.     Defendant Intex Recreation Corp. is, and was at the time this action was filed, a

corporation organized under the laws of California and has its principal place of business in

California. Accordingly, Intex is a citizen of California for purposes of determining diversity

under 28 U.S.C. § 1332(c)(1). See Exhibit B, California Secretary of State Entity Detail, Intex

Recreation Corp.




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         9.    Because Plaintiff is a citizen of South Dakota and Defendant is a citizen of

California, complete diversity exists.

III.     THE AMOUNT-IN-CONTROVERSY REQUIREMENT IS SATISFIED

         10.   The amount in controversy in this matter exceeds $75,000, as required by 28

U.S.C. § 1332(a).

         11.   In determining whether the amount in controversy is met, the Court may consider

Plaintiff’s pre-suit demand letter to Defendant. See, e.g., McPhail v. Deere & Co., 529 F.3d 947,

956 (10th Cir. 2008); Cohn v. Petsmart, Inc., 281 F.3d 837, 840 (9th Cir. 2002) (holding that a

settlement demand letter “is relevant evidence of the amount in controversy” and “is sufficient to

establish the amount in controversy.”).

         12.   On January 22, 2019, Plaintiff’s counsel sent a demand letter to Defendant

seeking $100,000. Thus, the amount in controversy requirement is satisfied. A copy of

Plaintiff’s demand letter is attached hereto as Exhibit C.

IV.      THE FILING OF REMOVAL PAPERS

         13.   Pursuant to 28 U.S.C. § 1446(d), written notice of the removal of this action will

be promptly served on Plaintiff’s counsel, and a Notice of Filing of Notice of Removal is

simultaneously being filed with the Clerk of the Circuit Court, Second Judicial Circuit, State of

South Dakota. A true and correct copy of this Notice is attached hereto as Exhibit D.

         14.   In conclusion, the state court action is properly removed to this Court by

Defendant in accordance with the provisions of 28 U.S.C. § 1441(a) because (i) this action is a

civil action pending within the jurisdiction of the United States District Court for the District of

South Dakota, Southern Division; (ii) this action is between citizens of different states; and

(iii) the amount in controversy exceeds $75,000, exclusive of interest and costs.




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       WHEREFORE, Defendant Intex Recreation Corp. respectfully requests the above-

captioned action pending in the Circuit Court, Second Judicial District, State of South Dakota, be

removed to the United States District Court for the District of South Dakota, Southern Division,

and that said District Court assume jurisdiction of this action and enter such other and further

orders as may be necessary to accomplish the requested removal and promote the ends of justice.

Dated this 11th day of July, 2019.

                                      Respectfully submitted,

                                      /s/ Bruce Jones                         .
                                      Bruce Jones
                                      South Dakota Bar #2391
                                      FAEGRE BAKER DANIELS LLP
                                      2200 Wells Fargo Center
                                      90 South Seventh Street
                                      Minneapolis, MN 55402-3901

                                      Attorney for Defendant, Intex Recreation Corp.




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                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 11, 2019, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system, which will send notice of electronic filing to

the following counsel of record:

       John R. Hinrichs
       101 West 69th Street, Suite 105
       Sioux Falls, SD 57108
       (605) 679-4470
       John@hpslawfirm.com
       Attorney for Plaintiff


                                      /s/    Bruce Jones         .
                                      Bruce Jones
                                      South Dakota Bar #2391
                                      FAEGRE BAKER DANIELS LLP
                                      2200 Wells Fargo Center
                                      90 South Seventh Street
                                      Minneapolis, MN 55402-3901

                                      Attorney for Defendant, Intex Recreation Corp.




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JS 44 (Rev. 0)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
Susan J. O'Meara Hernes                                                                                     Intex Recreation Corp.

    (b) County of Residence of First Listed Plaintiff             Lincoln                                     County of Residence of First Listed Defendant              Los Angeles
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)

John R. Hinrichs, 101 West 69th St., Suite 105, Sioux Falls, South                                          Bruce Jones, 2200 Wells Fargo Center, 90 South Seventh Street,
Dakota, 57108; (605) 679-4470                                                                               Minneapolis, MN 55402-3901 (612) 766-7426

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
u 1    U.S. Government                u 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         u 1       u 1       Incorporated or Principal Place       u 4     u 4
                                                                                                                                                         of Business In This State

u 2    U.S. Government                u 4     Diversity                                              Citizen of Another State          u 2    u    2   Incorporated and Principal Place    u 5     u 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           u 3    u    3   Foreign Nation                      u 6     u 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
u   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              u 625 Drug Related Seizure          u 422 Appeal 28 USC 158          u 375 False Claims Act
u   120 Marine                       u   310 Airplane                 u 365 Personal Injury -              of Property 21 USC 881        u 423 Withdrawal                 u 376 Qui Tam (31 USC
u   130 Miller Act                   u   315 Airplane Product               Product Liability        u 690 Other                               28 USC 157                       3729(a))
u   140 Negotiable Instrument                 Liability               u 367 Health Care/                                                                                  u 400 State Reapportionment
u   150 Recovery of Overpayment      u   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                u 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              u 820 Copyrights                 u 430 Banks and Banking
u   151 Medicare Act                 u   330 Federal Employers’             Product Liability                                            u 830 Patent                     u 450 Commerce
u   152 Recovery of Defaulted                 Liability               u 368 Asbestos Personal                                            u 835 Patent - Abbreviated       u 460 Deportation
        Student Loans                u   340 Marine                         Injury Product                                                     New Drug Application       u 470 Racketeer Influenced and
        (Excludes Veterans)          u   345 Marine Product                 Liability                                                    u 840 Trademark                        Corrupt Organizations
u   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                u 480 Consumer Credit
        of Veteran’s Benefits        u   350 Motor Vehicle            u 370 Other Fraud              u 710 Fair Labor Standards          u 861 HIA (1395ff)               u 485 Telephone Consumer
u   160 Stockholders’ Suits          u   355 Motor Vehicle            u 371 Truth in Lending                Act                          u 862 Black Lung (923)                 Protection Act
u   190 Other Contract                       Product Liability        u 380 Other Personal           u 720 Labor/Management              u 863 DIWC/DIWW (405(g))         u 490 Cable/Sat TV
u   195 Contract Product Liability   u   360 Other Personal                 Property Damage                 Relations                    u 864 SSID Title XVI             u 850 Securities/Commodities/
u   196 Franchise                            Injury                   u 385 Property Damage          u 740 Railway Labor Act             u 865 RSI (405(g))                     Exchange
                                     u   362 Personal Injury -              Product Liability        u 751 Family and Medical                                             u 890 Other Statutory Actions
                                             Medical Malpractice                                            Leave Act                                                     u 891 Agricultural Acts
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            u 790 Other Labor Litigation          FEDERAL TAX SUITS              u 893 Environmental Matters
u   210 Land Condemnation            u   440 Other Civil Rights         Habeas Corpus:               u 791 Employee Retirement           u 870 Taxes (U.S. Plaintiff      u 895 Freedom of Information
u   220 Foreclosure                  u   441 Voting                   u 463 Alien Detainee                 Income Security Act                  or Defendant)                   Act
u   230 Rent Lease & Ejectment       u   442 Employment               u 510 Motions to Vacate                                            u 871 IRS—Third Party            u 896 Arbitration
u   240 Torts to Land                u   443 Housing/                       Sentence                                                            26 USC 7609               u 899 Administrative Procedure
u   245 Tort Product Liability               Accommodations           u 530 General                                                                                             Act/Review or Appeal of
u   290 All Other Real Property      u   445 Amer. w/Disabilities -   u 535 Death Penalty                  IMMIGRATION                                                          Agency Decision
                                             Employment                 Other:                       u 462 Naturalization Application                                     u 950 Constitutionality of
                                     u   446 Amer. w/Disabilities -   u 540 Mandamus & Other         u 465 Other Immigration                                                    State Statutes
                                             Other                    u 550 Civil Rights                   Actions
                                     u   448 Education                u 555 Prison Condition
                                                                      u 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
u 1 Original             u 2 Removed from                 u 3         Remanded from             u 4 Reinstated or       u 5 Transferred from     u 6 Multidistrict                  u 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           28 U.S.C. § 1332
VI. CAUSE OF ACTION Brief description of cause:
                                           Personal injury product liability action relating to injuries allegedly caused by an Intex-brand airbed pump.
VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         u Yes      u No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
07/12/2019                                                              /s/ Bruce Jones
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
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JS 44 Reverse (Rev. 0)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

,,      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

,,,     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

,9      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

9       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.PLEASE
         NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due tochanges in
         statue.

9,      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

9,,     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

9,,, Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.


Date and Attorney Signature. Date and sign the civil cover sheet.
